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EXHIBIT “B”
 

Gremata, Claire

 

 

From: Femandez, Dr. Enrique

 

“™ Sent: Sunday. Apri! 23, 2006 5:17 PM
To: Anand Dasrath sees
Cc: Coutinho, Ronnie; Cremata, Claire

Subject: RE: [aicm62}Course Grades Posted |

Please contact Claire Cremata on Monday to schedule a teleconference to review your AICM performance; 3D5-
804-7803 ,

 

From: Anand Dasrath [mallto:anand_dasrath@yahoo.com]
Sent: Sat 4/22/2006 4:45 PM

To: Fernandez, Dr. Enrique

Subject: Re: [aicm62]Course Grades Posted

Dr. Femandez, .

Isee a failing grade as my final grade. Please check: 1) I do not see an updated prade for
my Epi/Biostatics grade, only the first failing grade of 50/76 is there. What happened to the remediated
grade? 2) 36% for the final essay is very unconsciable. The person that marked it did not do a fair job.
I knew what was asked and what the answers were: my poor penmanship may have annoyed the
marker but not a reasonable excuse to get a failing prade, 3)Please look again at my second case write
up - under subjective condictions such as this any reader can give any essay a c- and cause the student a
failing final grade. 4) How did I end up with a 36/50 in the extra-credit after 10-points were allocated
for staymg to the end of the soap-notes lecture ( which J did), 10 points for notifing you on time which I
did, I wrote my soap, presented it and answer all the questions correctly except for one: "what is LOC
(loss of consciousness)?"

i humbly ask that you review the components of my grade. [ already passed my comprehensive
examination, already moved back to New York, and is already preparing for my USMLE Step 1. If
there is any other steps yon would like me to take that would complete course please let me know.

Thanks,
Anand Dasrath.
“Fernandez, Dr. Enrique” <ESPernandez@rossmed.edu> wrote:

AICM Caurse grades are posted on eCollege. Grade breakdowns will be available by email request
starting Monday. If you would fike your second write-up back, you may pick it up from Alvaro Rosales
starting Monday. If you are not in Miami, you may send an email to Mr. Rosales and provide him with a
mailing address to send your write-up: ARosales@rossmed.edu

Grade Distributions:

28 percent "A”

18 percent "B+"

17 percent "B"

13 percent "C+" . : \

 

19 percent °C"
